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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION


 TEXAS, et al.,

                      Plaintiffs,

            v.                                         Civil Action No. 4:18-cv-00167-O

 UNITED STATES OF AMERICA, et al.,

                      Defendants.


                     JOINT MOTION FOR ENTRY OF BRIEFING
                 SCHEDULE AND TO EXTEND TIME AND PAGE LIMITS

       The parties jointly move for entry of a briefing schedule and to extend deadlines and page

limits otherwise applicable under the federal and local rules, and state as follows:

       1.        In this case, Plaintiffs challenge the constitutionality of 26 U.S.C. § 5000A(a),

which was enacted in 2010 as part of the Affordable Care Act. They allege that an amendment

to 26 U.S.C. § 5000A enacted in the Tax Cuts and Jobs Act of 2017 has rendered that provision

unconstitutional. They further allege that the provision cannot be severed from the remainder of

the Affordable Care Act, which they ask the Court to invalidate in its entirety, along with all

regulations that have been promulgated thereunder.

       2.        The complaint was filed on February 28, 2018, and service was completed on

March 7, 2018. See ECF Nos. 1, 10. Plaintiffs intend to file an amended complaint on April 23,

2018, and Defendants will consent to that filing. See Fed. R. Civ. P. 15(a)(2).

       3.        Plaintiffs represent that they intend to move for a preliminary injunction on or

about April 26, 2018.




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       4.       Defendants represent that they seek additional time to file a coordinated response

to the amended complaint and to Plaintiffs’ anticipated preliminary injunction motion. Plaintiffs

seek the invalidation of a federal statute, and their complaint raises a number of different legal

theories, including under Article I of the U.S. Constitution, the Fifth Amendment’s Due Process

Clause, the Tenth Amendment, and the Administrative Procedure Act. Defendants’ response

will require close coordination among several federal agencies, including the Department of

Justice, the Department of Health and Human Services, the Department of the Treasury, and the

Internal Revenue Service. In addition, counsel at the Department of Justice are currently

occupied with other pressing litigation matters, which will prevent them from preparing a

considered response to the amended complaint by the default deadline.

       5.       The parties submit that, under the circumstances, there is good cause to extend the

deadlines otherwise applicable under the federal and local rules, and respectfully propose the

following briefing schedule:

            •   Plaintiffs’ motion for a preliminary injunction shall be filed by April 26, 2018

            •   Defendants’ response to Plaintiffs’ preliminary injunction motion and response to
                the amended complaint shall be filed by June 15, 2018

            •   Plaintiffs’ reply in support of their preliminary injunction motion and opposition
                to any motion Defendants file in response to the amended complaint shall be filed
                by July 16, 2018

            •   Any reply by Defendants in support of a motion filed in response to the amended
                complaint shall be filed by August 9, 2018

       6.       No party has previously sought an extension of time in this case, and granting this

request would not affect any other deadlines.

       7.       The parties also respectfully seek leave to file briefs exceeding the default page

limits prescribed by Local Rule 7.2(c). In view of the number and nature of the claims alleged in



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the complaint, Plaintiffs request leave to file a 50-page brief in support of their motion for a

preliminary injunction, and Defendants request leave to file a responsive brief of the same

length.

          WHEREFORE, the parties respectfully request that the Court enter the attached proposed

briefing schedule.


Dated: April 23, 2018                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I certify that on April 23, 2018, I filed the foregoing document with the Clerk of Court
via the CM/ECF system, causing it to be served electronically on Plaintiffs’ counsel of record.

                                                      /s/ Eric Beckenhauer                         .
                                                     ERIC B. BECKENHAUER




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